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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

                                             )
Kristina Monique Stevenson                   )
                                             )
                                             )
                        Plaintiff            )
                                             ) Cause No. 1:19-cv-823
       v.                                    )
                                             )
Amsher Collection Services Inc.              )
                                             )
                                             )
                                             )
                        Defendant            )
                                             )


     COMPLAINT SEEKING DAMAGES FOR VIOLATION OF THE FAIR DEBT
       COLLECTION PRACTICES ACT AND DEMAND FOR JURY TRIAL

                                      INTRUDUCTION
   1) This is an action for actual damages, statutory damages, punitive damages, emotional

       distress, legal fees, and expenses for the improper and illegal actions and conduct of

       Amsher Collections Services, Inc. whose actions and conduct are in direct violation of

       the Fair Debt Collection Practices Act pursuant to 15 U.S.C. § 1692(f).

                                    JURISDICTION AND VENUE

   2) Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331 and 28

       U.S.C. § 1337.

   3) Venue in this district is proper under 28 U.S.C. § 1391(b) in that the conduct complained

       of occurred here.

                                               PARTIES

   4) The Plaintiff, Kristina Stevenson (“Plaintiff”) is a natural person presently residing in

       Indianapolis, Marion County, Indiana.

   5) Amsher Collection Services, Inc. (“Amsher”) is an Alabama based corportaion. They are
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     a debt collector as defined by §1692a of the Fair Debt Collection Practices Act (FDCPA)

     in that they regulary use the mail and/or the telephone to collect, or attempt to collect,

     debts in the State of Indiana. See Exhibit “1” attached hereto.

                                                FACTS

  6) The Plaintiff filed a Chapter 13 Bankruptcy case on April 29, 2015 under case number

     15-03694-RLM-13 in the United States Bankruptcy Court, Southern District of Indiana,

     Indianapolis Division - referred to as the “Petition Date.” See Exhibit “2” attached

     hereto.

  7) Enhanced Recovery Corp., acting as collection agent for T-Mobile, was duly listed on

     Schedule “F” of the plaintiff’s Voluntary Petition as an unsecured creditor with the

     correct account number and mailing address stated thereon. See Exhibit “2” attached

     hereto.

  8) On May 3, 2015 Enhanced Recovery Corp., the collection agent for T-Mobile was sent

     an electronic notice of bankruptcy from the Bankruptcy Noticing Center relating to the

     Plaintiff’s filing. See Exhibit “2” attached hereto.

  9) On May 7, 2015 American InfoSource LP, as agent for T-Mobile, filed a proof of claim

     (claim number 1-1) in the Plaintiff’s bankruptcy. See Exhibit “3” attached hereto.

  10) Enhanced Recovery Corp., American InfoSource, and T-Mobile, did not file an objection

     to their treatment under the Plaintiff’s Chapter 13 Plan. Further, neither did they file, at

     any time during the Plaintiff’s bankruptcy case, an adversary proceeding to object to the

     dischargeability of said debt.

  11) Bankruptcy counsel for the Plaintiff never gave Enhanced Recovery Corp., American

     InfoSource, or T-Mobile authorization for any direct communication in relation to this

     debt.

  12) Plaintiff’s Chapter 13 plan was confirmed by the Bankruptcy Court on August 11, 2015.
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  13) On April 25, 2017 Plaintiff’s Chapter 13 bankruptcy was converted to a Chapter 7

     bankruptcy.

  14) On August 15, 2017 The United States Bankruptcy Court for the Southern District of

     Indiana entered an Order of Discharge in the Plaintiff’s bankruptcy case.

  15) On August 20, 2018 at 3:37 p.m. the Plaintiff received a telephone call from a

     representative of Amsher demanding payment on behalf of T-Mobile. Plaintiff demanded

     that they cease all contact immediately.

  16) The Plaintiff received a letter dated August 21, 2018 from Amsher, on behalf of T-

     Mobile, demanding payment of $161.23. See Exhibit “4” attached hereto.

  COUNT I – VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

  17) The Plaintiff incorporates herein rhetorical paragraphs 1-16 of her complaint as if fully

     set forth below.

  18) Amsher is a “debt collector” as defined by 15 U.S.C. §692(a)(6)

  19) Amsher attempted to collect an alleged “debt” as defined by 15 U.S.C. §1692(a)(5).

  20) Amsher’s attempts to collect the debt were in violation of 15 U.S.C. §1692(e)(2)(A).

  21) Amsher made unreasonable and unnecessary demands by requesting payment on a debt

     discharged in bankruptcy. The demands for payment were a false representation by them

     of the validity of the debt, as they are barred from any collection activity due to the

     discharge injunction issued by the United States Bankruptcy Court under 11 U.S.C. §

     524.

  22) Amsher’s collection letter dated August 21, 2018 is an attempting to collect a debt in

     direct violation of 15 U.S.C. § 1692(f) as they used unfair or unreasonable means to

     collect, or attempt to collect, the debt.

  23) Amsher is in direct violation of 15 U.S.C. § 1692(c)(a)(2), as they contacted the Plaintiff

     directly by mail and by telephone demanding the Plaintiff pay a discharged debt. Further,
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       Amsher knew or should have known that the Plaintiff was represented by counsel and

       had received a bankruptcy discharge on the debt they were attempting to collect.

WHEREFORE, the Plaintiff, by counsel, requests the Court enter a judgment against Amsher

Collection Services, Inc. for statutory damages, actual damages, attorney fees, costs, and all

other just and proper relief.




                                                   By: /s/ Richard J Shea
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